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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 19-0456V
                                          UNPUBLISHED


    DARRELL BARRETT,                                            Chief Special Master Corcoran

                         Petitioner,                            Filed: December 16, 2020
    v.
                                                                Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                     Damages Decision Based on Proffer;
    HUMAN SERVICES,                                             Influenza (Flu) Vaccine; Shoulder
                                                                Injury Related to Vaccine
                         Respondent.                            Administration (SIRVA)


Jessica Olins, Maglio Christopher & Toale, PA, Washington, DC, for petitioner.

Zoe Wade, U.S. Department of Justice, Washington, DC, for respondent.


                                 DECISION AWARDING DAMAGES1

       On March 28, 2019, Darrell Barrett filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that he suffered right shoulder injuries as a result of an
influenza vaccine administered on December 28, 2017. Petition at 1-4. The case was
assigned to the Special Processing Unit of the Office of Special Masters.

        On December 16, 2020, a ruling on entitlement was issued, finding Petitioner
entitled to compensation for SIRVA. On December 16, 2020, Respondent filed a proffer
on award of compensation (“Proffer”) indicating Petitioner should be awarded
$203,785.70. Proffer at 1. In the Proffer, Respondent represented that Petitioner agrees
with the proffered award. Id. Based on the record as a whole, I find that Petitioner is
entitled to an award as stated in the Proffer.

1
   Because this unpublished decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
  National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
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      Pursuant to the terms stated in the attached Proffer, I award Petitioner a lump
sum payment of $203,785.70 (comprised of $85,000.00 for pain and suffering,
$3,427.34 for unreimbursed expenses, and $115,358.36 for lost earnings) in the
form of a check payable to Petitioner. This amount represents compensation for all
damages that would be available under § 15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision.3

IT IS SO ORDERED.


                                         s/Brian H. Corcoran
                                         Brian H. Corcoran
                                         Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


                                                    2
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                  IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                            OFFICE OF SPECIAL MASTERS

                                                     )
 DARRELL BARRETT,                                    )
                                                     )
                  Petitioner,                        )
                                                     )    No. 19-456V
 v.                                                  )    Chief Special Master Corcoran
                                                     )    ECF
 SECRETARY OF HEALTH AND HUMAN                       )
 SERVICES,                                           )
                                                     )
                  Respondent.                        )
                                                     )

               RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

I.        Procedural History

          On March 28, 2019, Darrell Barrett (“petitioner”) filed a petition for compensation under

the National Childhood Vaccine Injury Act of 1986, 42 U.S.C. §§ 300aa-1 to -34 (“Vaccine Act”

or “Act”), alleging that he suffered a Shoulder Injury Related to Vaccine Administration

(“SIRVA”) as a result of an influenza vaccine he received on December 28, 2017. Petition at 1.

On June 30, 2020, the Secretary of Health and Human Services (“respondent”) filed a Rule 4(c)

Report indicating that this case is appropriate for compensation under the terms of the Act. ECF

No. 40.

II.       Items of Compensation

          Based upon the evidence of record, respondent proffers that petitioner should be awarded

a lump sum of $203,785.70 ($85,000.00 for pain and suffering, $3,427.34 for unreimbursed

expenses, and $115,358.36 for lost earnings). This amount represents all elements of

compensation to which petitioner would be entitled under 42 U.S.C. § 300aa-15(a). Petitioner

agrees.
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III.     Form of the Award

         Respondent recommends that the compensation provided to petitioner should be made

through a lump sum payment of $203,785.70, in the form of a check payable to petitioner. 1

Petitioner agrees.

         Petitioner is a competent adult. Evidence of guardianship is not required in this case.


                                                       Respectfully submitted,

                                                       JEFFERY BOSSERT CLARK
                                                       Acting Assistant Attorney General

                                                       C. SALVATORE D’ALESSIO
                                                       Acting Director
                                                       Torts Branch, Civil Division

                                                       CATHARINE E. REEVES
                                                       Deputy Director
                                                       Torts Branch, Civil Division

                                                       DARRYL R. WISHARD
                                                       Assistant Director
                                                       Torts Branch, Civil Division

                                                       s/ Zoë Wade
                                                       ZOË WADE
                                                       Trial Attorney
                                                       Torts Branch, Civil Division
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                                                       Fax: (202) 616-4310
                                                       Email: zoe.wade@usdoj.gov
Dated, December 16, 2020.




1
  Should petitioner die prior to entry of judgment, respondent would oppose any award for future medical expenses,
future lost earnings, and future pain and suffering, and the parties reserve the right to move the Court for appropriate
relief.

                                                           2
